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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Pedro Vega Siqueiros,

                        Plaintiff,

v.                                     Case No. 1:24-cv-1700-MLB

Equifax Information Services LLC,
et al.,

                        Defendants.

________________________________/

                                 ORDER

     The parties have announced that this case has settled. The Court

DIRECTS the Clerk to ADMINISTRATIVELY CLOSE this case. The

parties shall file a dismissal or other filing disposing of this case upon

finalization of the settlement. If settlement negotiations fail, the parties

shall promptly move to reopen the case.1




1 Administrative closure is a docket-control device and will not prejudice

the rights of the parties to this litigation in any manner. The parties
need only file a motion to reopen the case if settlement negotiations fail.
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SO ORDERED this 18th day of July, 2024.




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